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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF RHODE ISLAND


JOHN DOE,
                   Plaintiff,

v.                                                         C.A. NO.: 18-106-JJM-LDA

JOHNSON & WALES UNIVERSITY,
          Defendant.


                    STIPULATION EXTENDING TIME FOR DEFENDANT’S
                       SERVICE OF ITS DISCOVERY RESPONSES AND
                                      OBJECTIONS

           Plaintiff John Doe and Defendant Johnson & Wales University (“JWU”) stipulate that

JWU shall have up to and including January 14, 2019 to serve its responses and any objections to

Plaintiff’s First Request for Production of Documents.



JOHN DOE                                         JOHNSON & WALES UNIVERSITY,

By His Attorney,                                 By Its Attorneys,

                                                 /s/ Steven M. Richard
/s/ James P. Ehrhard                             /s/ Jeffrey S. Brenner
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                                                 Dated: December 20, 2018




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